USCA4 Appeal: 24-1406       Doc: 1       Filed: 05/07/2024      Pg: 1 of 1


                                                                             FILED: May 7, 2024

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                                         ___________________

                                               No. 24-1406
                                          (8:20-cv-03581-ADC)
                                         ___________________

        MICHAEL T. PARKER; PATRICE PARKER

                     Plaintiffs - Appellants

        and

        ALICE MEJIA

                     Intervenor/Plaintiff - Appellant

        v.

        GOLDMAN SACHS MORTGAGE COMPANY LIMITED PARTNERSHIP;
        NEWREZ LLC, d/b/a Shellpoint Mortgage Servicing

                     Defendants - Appellees


        This case has been opened on appeal.

        Originating Court                          United States District Court for the District
                                                   of Maryland at Baltimore
        Originating Case Number                    8:20-cv-03581-ADC
        Date notice of appeal filed in originating 05/04/2024
        court:
        Appellants                                 Alice Mejia, Michael T. Parker, Patrice
                                                   Parker
        Appellate Case Number                      24-1406
        Case Manager                               Anisha Walker
                                                   804-916-2704
